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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                     MDL NO. 2924
   PRODUCTS LIABILITY                                                              20-MD-2924
   LITIGATION
                                                       JUDGE ROBIN L. ROSENBERG
                                             MAGISTRATE JUDGE BRUCE E. REINHART

   _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                    PRETRIAL ORDER #19
                       Order Attaching Amended Appendix A (to Pretrial
                Order #16) Setting Forth May 6 and 7, 2020 Leadership Interviews

           On April 3, 2020, the Court entered PTO #16, in which it attached Appendix A setting

   forth the interview schedule for leadership applicants on May 6 and 7, 2020. Since entering the

   Order, the Court has made slight modifications to the schedule as well as clarifying for the

   applicants the order in which they will be called to present. See attached Amended Appendix A.

   The Court looks forward to meeting each of the applicants on May 6 and 7 and extends its gratitude

   for the patience that the applicants, as well as all counsel involved in the case, have shown over

   the past months since the inception of this multi-district litigation. The Court strongly encourages

   all participants to the May 6 and 7 sessions to become acquainted with the Zoom instructions that

   will be disseminated by Plaintiffs’ and Defendant’s Liaison Counsel. The instructions include a

   mandatory testing session for all participants on April 30 at 11:00AM.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 28th day of April,

   2020.

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                                                        ROBIN L. ROSENBERG
                                                        UNITED STATES DISTRICT JUDGE
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                           Amended Appendix A - Leadership Schedule


   Session 1 (May 6, 9am-noon)                  Session 3 (May 7, 9am-noon)
      1. Fegan, Elizabeth                          1. Babin, Steven
      2. Wolfson, Tina                             2. Longer, Fred
      3. Albert, Lee                               3. Keller, Ashley
      4. Berman, Steve                             4. Yuhl, Christopher
      5. Gilbert, Robert                           5. Jung, Je Yon
      6. Dearman, Mark                             6. Roark, Emily
      7. Whitely, Conlee                           7. Crump, Martin
      8. Honik, Ruben                              8. Leopold, Ted
      9. Mestre, Jorge                             9. Hilliard, Robert
      10. Westcot, Sarah                           10. Watts, Mikal
      11. Martinez-Cir, Ricardo                    11. Moore, Jennifer
      12. Hyman, Kelly                             12. Nicholas, Steve
      13. Lear, Brad                               13. Schlessinger, Scott
      14. Krause, Adam                             14. McGlamry, Michael
      15. Wallace, Edward                          15. Maher, Steve
                                                   16. Pulaski, Adam
                                                   17. Boldt, Paige


   Session 2 (May 6, 1pm-5pm)                   Session 4 (May 7, 1pm-4pm)
      1. Parekh, Behram                            1. Ferraro, James
      2. Rasmussen, Kristian                       2. Murphy, John Martin
      3. Williamson, George                        3. Dellacio, Doug
      4. Scott, Carmen                             4. Miller, Lauren
      5. Wisner, Brent                             5. Bachus, J. Kyle
      6. Luhana, Roopal                            6. Schanker, Darin
      7. Finken, Tracy                             7. Elliott, J. Christopher
      8. Kraft, Kristine                           8. Parafinczuk, Justin
      9. Nigh, Daniel                              9. Susen, Marcus
      10. Goldenberg, Marlene                      10. Worley, Donald
      11. Bogdan, Rosemarie                        11. Barfield, William
      12. Rotman, Steve                            12. Assaad, Gabriel
      13. Restaino, John                           13. Fraser, Scott
      14. Larmond-Harvey, Nicola                   14. Philip, Meagan
      15. Rodal, Yechezkel
      16. Muhlstock, Melanie
      17. Woodson, Frank
